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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                         Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     WAWA FLORIDA, LLC
     d/b/a WAWA Gas Station at
     6971 SW 24th Street and
     MASPONS CORAL PLAZA, LLLP

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant WAWA Florida, LLC doing business as the WAWA gas station at

     6971 SW 24th Street (Coral Way) and Defendant Maspons Coral Plaza, LLLP for injunctive

     relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities Act

     (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

            4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

     “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

     due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

     US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

     §36.105(2)(iii)(D).   Plaintiff is also a “tester” of public accommodations to determine

     whether they are in compliance with the ADA/ADAAG.

            5.      Defendant WAWA Florida, LLC (also referenced as “Defendant WAWA

     Florida,” “operator,” lessee” or “co-Defendant”) is a foreign limited liability company

     authorized to transact business in Florida. On information and belief, Defendant WAWA

     Florida is the owner and operator of a chain of gasoline stations/convenience stores within

     Florida under the brand name “WAWA.”

            6.      Defendant Maspons Coral Plaza, LLLP (also referenced as “Defendant Coral

     Plaza,” “lessor,” “owner,” or “co-Defendant”) is a foreign limited partnership authorized to

     transact business in Florida and is the owner of real property located at 7001 SW 24 Street,

     Miami, Florida 33155. This property is more fully designated as Folio 30-4011-045-0010

     and also includes the address 6971 SW 24th Street, which is the address of the WAWA

     gasoline station which is the subject of this instant complaint.

                                                 FACTS

            7.      Defendant Coral Plaza’s real property encompasses a one block frontage on

     SW 24th Street (which is also known as Coral Way) and is built out as a stand-alone gas




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     station/convenience store and as a stand-alone pharmacy. Defendant Coral Plaza leases the

     stand-alone gas station and convenience store portion of its property to co-Defendant

     WAWA Florida who in turn operates its WAWA gas station/convenience store within that

     leased space.

             8.      Defendant WAWA Florida’s WAWA gas stations (including the WAWA gas

     station on Coral Way which is the subject of this action) are open to the public and each is a

     place of public accommodation subject to the requirements of Title III of the ADA and its

     implementing regulation as defined by 42 U.S.C. §12181(7)(F); §12182, and §36.104(6).

             9.      Defendant WAWA Florida’s WAWA gas stations (including the WAWA gas

     station on Coral Way which is the subject of this action) also contain convenience stores

     which meet the definition of a public accommodation pursuant to 42 U.S.C. §12181(7)(E)

     and 28 CFR 36.104(5).

             10.     Defendant WAWA Florida is defined as a “Public Accommodation" within

     meaning of Title III because it is a private entity which owns and operates WAWA brand

     gasoline stations and convenience stores pursuant to 42 U.S.C. §§12181(7)(F) & (E) and 28

     C.F.R. §§36.104(5) & (6).

             11.     The WAWA gas station on Coral Way which is the subject of this action is

     referenced throughout as “Place of Public Accommodation,” “gas station,” “WAWA on

     Coral Way (gas station),” or “WAWA on Coral Way gas station and convenience store.”

             12.     The WAWA on Coral Way is near an area that Plaintiff frequents.              .

     Therefore, on January 4, 2022, Plaintiff patronized Defendant’s WAWA on Coral Way in

     order to purchase food and drink from the convenience store within the gas station.

     Plaintiff’s visit was prior to instituting the instant action.




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             13.    While patronizing the convenience store, Plaintiff encountered multiple areas

     of inaccessibility while perambulating to the restroom and while using the restroom

     facilities.

             14.    Due to the inaccessible restroom facilities Plaintiff has been denied full and

     equal access by Defendants.

             15.    While Plaintiff patronized the WAWA on Coral Way gas station, he left

     feeling excluded, humiliated and dejected.

             16.    Plaintiff has been denied full and equal access to, and full and equal

     enjoyment of the WAWA on Coral Way gas station.

             17.    On information and belief, due to its ownership and operation of multiple

     WAWA brand gasoline stations, Defendant WAWA Florida is well aware of the need to

     provide equal access to individuals with disabilities. Defendant WAWA Florida’s failure to

     reasonably accommodate individuals with disabilities at its 6971 SW 24th Street (Coral

     Way) location is/was willful, malicious and oppressive and in compete disregard for the

     Civil Rights of Plaintiff and in violation of 28 C.F.R. §36.302.

             18.    As the owner of commercial property which is utilized as a gas

     station/convenience store and as a pharmacy which are all open to the general public,

     Defendant Coral Plaza is also defined as a “Public Accommodation" within meaning of

     Title III; 42 U.S.C. §12182, §§12181(7)(F) & (E) and 28 C.F.R. §§36.104(5) & (6). As an

     investor in commercial property, Defendant Coral Plaza is aware of the ADA and the need

     to provide for equal access, therefore its failure to reasonably accommodate individuals with

     disabilities is/was willful, malicious, and oppressive and in compete disregard for the Civil

     Rights of Plaintiff and in violation of 28 C.F.R. §36.302.




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               19.     Based on the access impediments delineated herein, Plaintiff has been denied

     full and equal access by the operator of the WAWA gas station (Defendant WAWA Florida)

     and by the owner of the commercial property which houses the gas station (Defendant Coral

     Plaza).

               20.     As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

               21.     Plaintiff is and has been a customer of WAWA and continues to desire to

     return to the WAWA on Coral Way as a patron and tester, but Plaintiff continues to be

     injured in that he is concerned that he will again be humiliated, segregated, and

     discriminated against due to the architectural barriers and other barriers to access, all which

     are in violation of the ADA.

               22.     Any and all requisite notice has been provided.

               23.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

               24.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Over thirty years have passed since enactment of the ADA and there is no excuse for public

     accommodations and places of public accommodation to have failed to comply with the

     legislation.




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             25.     Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
             (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,
             (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                     42 U.S.C. §12101(b)(1)(2) and (4).

             26.     Prior to the filing of this lawsuit, Plaintiff personally visited the WAWA gas

     station on Coral Way however Plaintiff was denied adequate accommodation because, as a

     disabled individual who utilizes a wheelchair for mobility, he met barriers to access.

     Therefore, Plaintiff has suffered an injury in fact.

             27.     Defendant WAWA Florida (operator of the WAWA gas station and

     convenience store on Coral Way) and Defendant Coral Plaza (owner of the commercial

     property operated as a that gas station and convenience store) have discriminated (and

     continue to discriminate) against Plaintiff by denying full and equal access to, and full and

     equal    enjoyment    of,   goods,    services,       facilities,   privileges,   advantages   and/or

     accommodations at that gas station in derogation of 42 U.S.C. §12101 et seq., and as

     prohibited by 42 U.S.C. §12182 et seq. by failing to barriers to access pursuant to 42 U.S.C.

     §12182(b)(2)(a)(iv), where such removal is readily achievable.

             28.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     WAWA gas station on Coral Way.




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            29.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against disabled

     patrons in derogation of 28 C.F.R. Part 36.

            30.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

            31.     The commercial property which is owned by Defendant Coral Plaza houses a

     WAWA branded gas station and convenience store which is operated by Defendant WAWA

     Florida. This Place of Public Accommodation is in violation of 42 U.S.C. §12181 et seq.,

     the ADA and 28 C.F.R. §36.302 et seq. and both the owner and the operator are

     discriminating against Plaintiff as a result of inter alia the following specific violations:

       i.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

            (owner/lessor of the property) (jointly and severally), the men’s accessible restroom

            sign is mounted on the hinge side of the door, violating Section 4.1.3(16) and

            Section 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards

            for Accessible Design.

      ii.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

            (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty closing

            the stall door, as the toilet compartment stall door was missing pull handles on both

            sides of the door near the latch. This is a violation of 28 C.F.R. Part 36, Section




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             4.27.4 of the ADAAG which states that controls and operating mechanisms shall be

             operable with one hand and shall not require tight grasping, pinching, or twisting of

             the wrist. The forces required to activate controls shall be no greater than 5 lbf (22.2

             N). This is also a violation §604.8.1.2 of the 2010 ADA Standards for Accessible

             Design which states that toilet compartment doors, including door hardware, shall

             comply with §404; specifically, §§404.2.7 and 309.4: “operable parts of such

             hardware shall be 34 inches (865 mm) minimum and 48 inches (1220 mm)

             maximum above the finish floor or ground.”

      iii.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

             (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty closing

             the stall door as the toilet compartment (stall) door does not provide self-closing

             hinges. This is a violation of Section 604.8.1.2 of the 2010 ADA Standards for

             Accessible Design states that toilet compartment doors shall be self-closing. This is

             also a violation of Sections 4.17.5 and 4.13.10 of the ADAAG. Section 4.17.5 states

             that toilet door hardware must comply with Section 4.13, and Section 4.13.10 states

             that door closers must take at least 3 seconds to move to a point of 3” from the latch.

      iv.    As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

             (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

             the toilet without assistance, as the rear wall grab bar is not in the required location

             from the side wall. This is a violation of Section 4.16.4 and Figure 29 of the

             ADAAG and Sections 604.5.2 of the 2010 ADA Standards for Accessible Design

             which states that the rear wall grab bar shall be 36 inches (915 mm) long minimum




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            and extend from the centerline of the water closet 12 inches (305 mm) minimum on

            one side and 24 inches (610 mm) minimum on the other side.

      v.    As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

            (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

            the toilet without assistance, as the side wall grab bar is not in the required location

            from the rear wall. This is a violation of Section 4.16.4 and Figure 29 of the

            ADAAG and Section 604.5.1 of the 2010 ADA Standards for Accessible Design

            which states that the side wall grab bar shall be 42 inches (1065 mm) long minimum

            and located 12 inches (305 mm) maximum from the rear wall and extending 54

            inches (1370 mm) minimum from the rear wall.

      vi.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

            (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

            toilet without assistance, as the toilet paper dispenser is not in the proper position as

            it is mounted at non-compliant distance in front of the water closet in violation of

            Sections 604.9.6 of the 2010 ADA Standards for Accessible Design.              ADAAG

            §§604 and 604.7 state that toilet paper dispensers shall comply with Section 309.4

            and shall be 7 inches (180 cm) minimum and 9 inches (230 cm) maximum in front of

            the water closet measured to the centerline of the dispenser. Section 604.9.6 further

            states that there must be a clearance of 1½ inches (38 mm) minimum below the grab

            bar and that dispensers shall not be of a type that controls delivery or that does not

            allow continuous paper flow. The subject toilet paper dispenser is in violation of

            these sections.




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      vii.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

             (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

             lavatory sink (inside the stall) without assistance, as the lavatory sink does not

             provide the appropriate knee clearance above the finished floor to bottom leading

             edge of fixture at 8" horizontal projection in violation of Section 4.19.2 of the

             ADAAG which states that lavatories must be mounted with the rim or counter

             surface no higher than 34 in (865 mm) above the finished floor and that the knee and

             toe clearance must comply with Fig. 31. This is also in violation of Sections 606.2 of

             the 2010 ADA Standards for Accessible Design.

     viii.   As to Defendant WAWA Florida (lessee/operator) and Defendant Coral Plaza

             (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

             lavatory mirror as the lavatory mirror (outside the stall) is mounted too high, which

             is in violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the

             ADAAG, and Section 603.3 of the 2010 ADA Standards for Accessible Design.

             32.    Pursuant to 42 U.S.C. §12101et seq. and 28 C.F.R. §36.304, Defendants are

     required to make the WAWA gas station on Coral Way accessible to persons with

     disabilities since January 28, 1992. Defendants have jointly and severally failed to comply

     with this mandate.

             33.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the

     WAWA gas station and convenience store therein such that it is made readily accessible to,

     and useable by, individuals with disabilities to the extent required by the ADA.




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            WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against the

     property lessor Defendant Maspons Coral Plaza, LLLP (owner of the commercial property

     housing the WAWA gas station and convenience store) and Defendant WAWA Florida,

     LLC (the operator of that WAWA branded gas station and convenience store) and requests

     the following relief:

                a)       The Court declare that Defendants have violated the ADA;

                b)       The Court enter an Order directing Defendants to evaluate and neutralize

                their policies, practices and procedures toward persons with disabilities,

                c)       The Court enter an Order requiring Defendants to alter the commercial

                property and the WAWA gas station and convenience store located therein such

                that all areas are accessible to and usable by individuals with disabilities to the

                full extent required by the Title III of the ADA;

                d)       The Court award reasonable costs and attorneys fees; and

                e)       The Court award any and all other relief that may be necessary and

                appropriate.

     Dated this __ day of January 2022.

                                                   Respectfully submitted,

                                                   /s/ J. Courtney Cunningham
                                                   J. Courtney Cunningham, Esq.
                                                   J. COURTNEY CUNNINGHAM, PLLC
                                                   FBN: 628166
                                                   8950 SW 74th Court, Suite 2201
                                                   Miami, Florida 33156
                                                   Telephone: 305-351-2014
                                                   Email: cc@cunninghampllc.com
                                                   Counsel for Plaintiff




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